 Case 3:18-cv-01423-S-BT Document 20 Filed 07/17/18                    Page 1 of 3 PageID 580


                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

STEPHEN KENJI LE BROCQ                                §
                                                      §
         Plaintiff,                                   §
                                                      §
       vs.                                            §
                                                      §       No. 3:18-cv-01423-S
THE CITY OF CARROLLTON, TEXAS;                        §
FANNING HARPER MARTINSON BRANDT                       §
& KUTCHIN, P.C; a Texas Professional                  §
Corporation and THOMAS P. BRANDT,                     §
Individually; MERIDETH LADD;                          §
SUSAN KELLER; and MARY SCANLON                        §
                                                      §
        Defendants.                                   §


        UNOPPOSED MOTION TO EXTEND TIME TO FILE A RESPONSE TO
                   DEFENDANTS’ MOTIONS TO DISMISS


      Plaintiff Stephen Kenji Le Brocq respectfully files this Unopposed Motion to Extend Time

to File a Response to Defendants’ Motions to Dismiss.

      Defendants filed 3 separate Motions to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) on July

3, 2018: City of Carrollton, Texas (Dkt. 11); the Individual City Defendants (Dkt. 12); and

Fanning, Harper, Martinson, Brandt & Kutchin, P.C. (Dkt. 13). The current response deadline for

all 3 motions is July 24, 2018.

      Plaintiff requests a deadline for filing his responses to the defendants’ motions because he

is preparing for multiple jury trials, working on a Reply brief for a pending appellate matter and

handling many other civil and criminal matters, some cases involving individuals that are currently

incarcerated. For this reason, Plaintiff requests an extension of time until August 7, 2018 to respond

to the motions.



Unopposed Motion to Extend time to File a Response to Defendants’ Motions to Dismiss       Page 1 of 3
 Case 3:18-cv-01423-S-BT Document 20 Filed 07/17/18                   Page 2 of 3 PageID 581


      Plaintiff has conferred with counsel for all defendants, all of whom are unopposed to the

granting of this request.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests this Court to

enter an Order extending the due date for Plaintiff’s responses to Defendants’ 12(b)(6) motions to

dismiss until August 7, 2018.

                                                      Respectfully submitted,

                                                      LE BROCQ LAW FIRM PLLC

                                                      /s/ Stephen Le Brocq
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                                                      Attorneys for Plaintiff


                             CERTIFICATE OF CONFERENCE

        In compliance with Local Rule 7.1, I certify that on July 17, 2018, I conferred with Darrell

Noga, attorney for Thomas Brandt and the City Defendants in this case. Mr. Noga indicated that

he is unopposed to this motion. Furthermore, by way of e-mail on July 17, 2018, I communicated

with attorney Laura O’Leary, on behalf of Fanning Harper Martinson Brandt & Kutchin, P.C. and

was informed that she is also unopposed to this motion.




Unopposed Motion to Extend time to File a Response to Defendants’ Motions to Dismiss     Page 2 of 3
 Case 3:18-cv-01423-S-BT Document 20 Filed 07/17/18                   Page 3 of 3 PageID 582


                                 CERTIFICATE OF SERVICE

        I certify that on July 17, 2018, I electronically submitted the foregoing document for filing

with the United States District Court for the Northern District of Texas using the electronic case

filing system of the Court, and that all counsel of record will be provided a “Notice of Electronic

Filing” and access to this document.

                                                      /s/ Stephen Le Brocq




Unopposed Motion to Extend time to File a Response to Defendants’ Motions to Dismiss      Page 3 of 3
